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IJNITED STATES OF AM ERICA,                          )
                                                     )
                       Plaintiff,                '
                                                     )
                                                     )
         v.                                          )
                                                     )       2:09-CR-176-RLH (PAL)
DANIEL LUGO,                                         )
                                                     )
                       Defendant.                    )
                               FINA L O R DE R O F FO RFE ITU R E

         On M arch 5,2010,the United States District Courtfor the D istrict of N evada entered an
AmendedPreliminm'yOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2);Title 18,
UnitedStztesCode,Section981(a)(1)(A)andTitle22,UnitedStatesCode,Section2461(c);Titlel8,
United StatesCode,Section982(a)(1)and(b);andTitle21,UnitedStatesCode,Section853(a)(1)
and (2)and(p),baseduponthepleaofguiltybydefendantDANIEL LUGO toacriminaleflknse,
forfeiting specilic property alleged in the Indictmentand shown by the United Sotes to have a
requisite nexusto the offense to which defendantDA N IEL LU G O pled guilty.
        This Courtfinds the U nited States of A m erica published the notice of the forfeiture in
accordance w ith the 1aw via the official governm ent internet forfeiture site,w ww .forfeittlre.gov,
consecutively from M arch 12,2010 through Aprill0,2010,notifying a11known third partiesoftheir
rightto petition the Court.
        ThisCourtfinds no petition w ms filed herein by or on behalfofany person orentity and the
tim e forfiling such petitionsarld claim shas expired.
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        n isCourtfindsno petitionsarependingwithregardto theassetsnamed hereinand thetime
forpresenting such petitionshasexpired.
        TH EREFORE,IT IS H ER EBY O RD ERED ,A DJUDGED ,A N D D ECREED thatallright,
litle,and interestin the property hereinaflerdescribed iscondemnedsforfeited,and vested in the

United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
32.2(c)(2))Title 18,United StatesCodepSection 98l(a)(l)(A)and Title 28,United StatesCode,
Section2461(c);Title18,UnitedStatesCode,Section982(a)(1)and(b);andTitle21,UnitedStates
Code,Section853(a)(1)and(2)and(p))andTitle21,UnitedStatesCode,Section853(n)(7)andshall
bc disposed ofaccording to law :

              a)      O ne H ew lettPackard Pavilion Laptop,serialnum berCN D42205TD ;

              b)      O ne Lexm ark copier/scalm er/printer,selialnum ber07523526561;and

                      inpersonam criminalforfeituremoneyjudgmentinamountof$20,700.00in
                      United States Currency.
        IT IS FURTHER O RDER ED ,A D JUD O ED ,AN D D ECREED thatany and all forfeited
funds,including butnotlim ited to,currency,currency equivalents,certificates ofdeposit,asw ellas
any incom e derivedmsa resultoftheUnited StatesofA m erica'sm anagem entofanyproperty forfeited
herein,and theproceedsfrom the sale ofany forfeited property shallbedisposed ofaccording to law .
        The Clerk ishereby directed to send copiesofthis O rderto a11counselofrecord and three
certified copiesto the United StatesAttorney'sOftice.
        DATEDthis aa'
                    ;
                    fV dayof                                010.

                                                        TA T S ISTRIC JU D GE
